               Case 19-40426             Doc 1          Filed 02/17/19            Entered 02/17/19 17:31:58                   Desc Main
 Fill in this information to identify the case:            Document               Page 1 of 4
 Debtor name         CFO Management Holdings, LLC

 United States Bankruptcy Court for the: Eastern District of Texas, Sherman Division                                         Check if this is an
                                                                                     (State)                                     amended filing
 Case number (if known):




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

 1.     Debtor's name                             CFO Management Holdings, LLC


 2.     All other names debtor used                __________________________________________________________________________
        in the last 8 years                        __________________________________________________________________________
                                                   __________________________________________________________________________
        Include any assumed names, trade           __________________________________________________________________________
        names, and doing business as               __________________________________________________________________________
        names



 3.     Debtor's federal Employer                 XX-XXXXXXX
        Identification Number (EIN)


 4.     Debtor's address                          Principal place of business                             Mailing address, if different from principal place
                                                                                                          of business

                                                  5899 Preston Rd., Suite 203                             400 South Hope Street, Suite 1050
                                                  Frisco, TX 75034                                        Los Angeles, CA 90071
                                                  Collin County, Texas




                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business




 5.     Debtor's website (URL)                     __________________________________________________________________________


 6.     Type of debtor                             Corporation (including Limited Company (LLC) and Limited Liability Partnership (LLP)
                                                   Partnership (excluding LLP)
                                                   Other. Specify: ____________________________________________________________________




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7.       Describe debtor's business               A. Check one:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above



                                                  B. Check all that apply:
                                                   Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                   Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                    § 80a-3)
                                                   Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))



                                                  C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                     http:www.uscourts.gov/four-digit-national-association-naics-codes.
                                                      5313 ____________________________________________________________________


8.       Under which chapter of the               Check one:
         Bankruptcy Code is the                    Chapter 7
         debtor filing?                            Chapter 9
                                                   Chapter 11. Check all the apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders
                                                                   or affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and
                                                                   every 3 years after that)
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                                   operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                                   Chapter 12



9.       Were prior bankruptcy cases               No
         filed by or against the debtor            Yes     District                         When ______________ Case Number ___________________
         within the last 8 years?                                                                 MM / DD / YYYY

         If more than 2 cases, attach a                     District                         When ______________ Case Number ___________________
         separate list                                                                            MM / DD / YYYY



10.      Are any bankruptcy cases                  No
         pending or being filed by a               Yes     Debtor     See attached addendum                     Relationship ______________________
         business partner or an
         affiliate of the debtor?                           District                                             When ____________________
                                                                                                                      MM / DD / YYYY
         List all cases. If more than 1, attach             Case number, if known ________________________________
         a separate list.




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11.      Why is the case filed in this        Check all that apply:
         district?                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                district.



12.      Does the debtor own or have           No
         possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
         property or personal property               needed.
         that needs immediate
                                                          Why does the property need immediate attention? (Check all that apply.)
         attention?
                                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety. What is the hazard?
                                                           It needs to be physically secured or protected from the weather.
                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                           Other

                                                          Where is the property?



                                                          Is the property insured?
                                                           No
                                                           Yes.    Insurance agency
                                                                    Contact name
                                                                    Phone
         Statistical and administrative information



13.      Debtor's estimation of               Check one:
         available funds                       Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                creditors.



14.      Estimated number of                   1-49                               1,000-5,000                             25,001-50,000
         creditors                             50-99                              5,001-10,000                            50,001-100,000
                                               100-199                            10,001-25,000                           More than 100,000
                                               200-999



15.      Estimated assets                      $0-50,000                          $1,000,001-$10 million                  $500,000,001-$1 billion
                                               $50,001-$100,000                   $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                               $100,001-$500,000                  $50,000,001-$100 million                $10,000,000,001-$50 billion
                                               $500,001-$1 million                $100,000,001-$500 million               More than $50 billion



16.      Estimated liabilities                 $0-50,000                          $1,000,001-$10 million                  $500,000,001-$1 billion
                                               $50,001-$100,000                   $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                               $100,001-$500,000                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million               More than $50 billion



         Request for Relief, Declaration, and Signature


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                    Name




WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up
           to $500,000 or imprisonment for up to 20 years, or both . 18 U.S.C. §§ 152, 1341, 1519, and 3571 .


17.      Declaration and signature of                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representatives of                   this petition .
         debtor                                          I have been authorized to file this petition on behalf of the debtor.
                                                         I have examined the information in this petition and have a reasonable belief that the information is
                                                         true and correct.




                                                                                                              Lawrence Perkins
                                                    Signature of authorized representative of debtor           Printed name

                                                  Title: Chief Restructuring Officer



18.      Signature of attorney



                                                  Joseph J. Wielebinski
                                                  Printed Name

                                                  Winstead PC
                                                  Firm Name

                                                  500 Winstead Building. 2728 N. Harwood Street
                                                  Number            Street

                                                  Dallas                                                     TX                  75201
                                                  City                                                        State              ZIP Code

                                                  (214} 745-5400                                              jwielebinski@wi nstead .com
                                                  Contact phone                                               Email address

                                                  21432400                                                    Texas
                                                  Bar number                                                  State




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